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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 BRADLEY ALBERT, PATRICK
 KNIERY, individually and on behalf
 of all others similarly situated,
                    Plaintiffs,                        1:16-cv-03072-WSD
       v.
 HGS COLIBRIUM, INC.,
                    Defendant.

                               SCHEDULING ORDER

      This matter is before the Court on the parties’ Joint Preliminary Report and

Discovery Plan (the “Plan”) [22]. Having considered the Plan,

      IT IS HEREBY ORDERED that the parties’ Joint Preliminary Report and

Discovery Plan [22] is APPROVED. The time limits for adding parties, amending

the pleadings, filing motions, completing discovery, and discussing settlement are

as set out in the Federal Rules of Civil Procedure and the Local Rules of this Court.

      IT IS FURTHER ORDERED that Plaintiffs shall file, on or before

January 31, 2017, its motion seeking conditional certification of this case as a

collective action under 29 U.S.C. § 216(b). Defendant shall file, on or before

March 2, 2017, its response to the motion. Plaintiffs may file, on or before

March 13, 2017, their reply.
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      IT IS FURTHER ORDERED that Defendant shall file, on or before

January 9, 2017, its answer or responsive pleading to Plaintiffs’ First Amended

Complaint [21].



      SO ORDERED this 21st day of December, 2016.




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